Case 6:20-cv-00881-ADA Document 83-8 Filed 06/29/21 Page 1 of 3




               EXHIBIT 24
                         Case 6:20-cv-00881-ADA Document 83-8 Filed 06/29/21 Page 2 of 3
157 Federal district court cases for William Haskell Alsup of
                                                                                                                                  Page 1 of 2
N.D.Cal.



District Judge William Haskell Alsup of the U.S. District Court for the Northern District of California N.D.Cal.
Cases

 Showing 157 open federal district court cases before District Judge William Haskell Alsup; pending between 2000-01-01 and 2021-06-29.;
 sorted by most recent docket activity.


Summary
Case Filings (Top 6 by Focus Order)




                            10
               Filings




                              5




                              0
                                    <2016            2016       2017         2018              2019       2020           2021
  Patent                              1                1        1             1                2           3              0

  Antitrust                           0                1        0             0                7           2              0

  Bankruptcy                          0                0        0             0                0           1              0

  Contracts                           1                0        0             3                2           7              0

  Copyright                           0                0        0             0                0           0              0

  Employment                          4                1        0             7                6          11              0
Cases by Type                                                                       Courts
Case Types                              Cases                                       N.D.Cal.                             157 100%

Patent                                       9

Antitrust                                   10

Bankruptcy                                   1

Contracts                                   13

Employment                                  29

Insurance                                    3

Product Liability                           14

Securities                                  21

Trade Secret                                 3

Trademark                                    4

ERISA                                        5

Environmental                                6

Consumer Protection                          3




                                     https://law.lexmachina.com/court/cand/judge/2827/cases?status=open&pending-from=2000-01-01&pending-
                      Case 6:20-cv-00881-ADA Document 83-8 Filed 06/29/21 Page 3 of 3
157 Federal district court cases for William Haskell Alsup of
                                                                                                                               Page 2 of 2
N.D.Cal.



Case Types                                Cases
Torts                                          2

Civil Rights                                   8

Remaining Federal                            37

All other Case Types have 0 results in this case list.


Case Status


Open: 157 (100%)                                                Terminated: 0 (0%)




                                      https://law.lexmachina.com/court/cand/judge/2827/cases?status=open&pending-from=2000-01-01&pending-
